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 1                                                             THE HONORABLE THOMAS S. ZILLY

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 4                                 UNITED STATES DISTRICT COURT
                              IN THE WESTERN DISTRICT OF WASHINGTON
 5                                          AT SEATTLE

 6   UNITED STATES OF AMERICA,                             Case No. CR-17-136-TSZ

 7                           Plaintiff,
                                                           ORDER GRANTING WITHDRAWAL AND
 8        vs.                                              SUBSTITUION OF COUNSEL

 9   TUAN VAN LE,
      aka “Mickey”
10    and
     ALEX CHAPACKDEE,
11   SAM KHANHPHONGPHANE,
     PHI NGUYEN,
12   MEIFANG YU,
      a/k/a “Michelle Yu” and
13   HOAN LE,

14                           Defendants.

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             The following Order is made by direction of the Court, the Honorable Thomas S. Zilly,
16
     United States Judge:
17
             1.       Defendant Tuan Van Le motion for withdrawal and substitution of counsel docket
18
     no. 116, is GRANTED.
19
             2.       The Clerk is directed to send a copy of this Order to all counsel of record.
20
             Dated this 25th day of October, 2017.
21

22                                                          A
                                                            Thomas S. Zilly
23
                                                            United States District Judge
24
                                                                                     CABLE, LANGENBACH,
                                                                                     KINERK & BAUER, LLP
     Order Granting Withdrawal and Substitution - 1                               1000 SECOND AVENUE, SUITE 3500
                                                                                  SEATTLE, WASHINGTON 98104-1048
                                                                                           (206) 292-8800
